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 4   (916) 554-2700
 5

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 7

 8                        IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,               ) 2:16-CR-00025-TLN
                                             )
12                Plaintiff,                 )
                                             ) STIPULATION AND ORDER
13         v.                                ) CONTINUING JUDGMENT AND
                                             ) SENTENCING DATE
14   EDWIN ARAMBULO,                         )
                                             )
15                Defendant.                 ) Judge: Hon. Troy L. Nunley
                                             )
16                                           )
                                             )
17

18                                      STIPULATION

19         The United States, by and through its undersigned counsel, and

20   the defendant, by and through his counsel of record, hereby stipulate

21   as follows:

22      1. This matter was previously set for a Judgment and Sentencing

23         Hearing on December 7, 2017.

24      2. By this Stipulation, the parties now move to continue the

25         Judgment and Sentencing Hearing until January 11, 2018, at 9:30

26         a.m.

27   ///

28   ///


     Stipulation to Continue                  1              United States v. Arambulo
            Case 2:16-cr-00025-TLN Document 203 Filed 12/06/17 Page 2 of 2


 1      3. The United States has notified the assigned Probation Officer of

 2         the requested scheduling change.

 3   IT IS SO STIPULATED.

 4

 5
     DATED: December 5, 2017              /s/ Justin L. Lee   _
 6                                      JUSTIN L. LEE
                                        Assistant U.S. Attorney
 7
     DATED: December 5, 2017              /s/ Michael Bigelow     _
 8                                      MICHAEL BIGELOW
                                        Attorney for EDWIN ARAMBULO
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11                                         ORDER
12         IT IS SO FOUND AND ORDERED, this 5th day of December, 2017.
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                                                     Troy L. Nunley
17                                                   United States District Judge
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     Stipulation to Continue                  2                United States v. Arambulo
